815 F.2d 74Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Kinsley BEAMER, Petitioner-Appellant,v.R. M. MUNCY;  Attorney General of Virginia, Respondents-Appellees.
    No. 86-6817.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1987.Decided March 24, 1987.
    
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      William Kinsley Beamer, appellant pro se.
      Thomas Drummond Bagwell, Assistant Attorney General, Office of the Attorney General of Virginia, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Beamer v. Muncy, C/A No. 86-55-R (W.D. Va., Nov. 17, 1986).
    
    
      2
      DISMISSED.
    
    